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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 9:19-cv-81160

     APPLE INC.,

                       Plaintiff,

            v.

     CORELLIUM, LLC,

                       Defendant.

                  DEFENDANT’S AMENDED 1 RESPONSES AND OBJECTIONS
                 TO PLAINTIFF’S SECOND SET OF REQUESTS FOR ADMISSION

           Defendant Corellium, LLC (“Corellium”), by and through undersigned counsel, pursuant to

    Federal Rules of Civil Procedure 26 and 36, hereby serves this Amended Response to Plaintiff,

    Apple Inc.’s (“Apple”), Second Set of Requests for Admissions.


                     CORELLIUM’S AMENDED RESPONSES TO APPLE’S
                       SECOND SET OF REQUESTS FOR ADMISSION

                                    _____ = Confidential Information

        REQUEST FOR ADMISSION NO. 66: Admit that Corellium is a U.S. Government contractor.

                 RESPONSE: Deny.

        REQUEST FOR ADMISSION NO. 67: Admit that Corellium does work directly for a United
        States federal agency.

                 RESPONSE: Deny.

        REQUEST FOR ADMISSION NO. 68: Admit that Corellium does work directly for the
        National Security Agency.

                 RESPONSE: Deny.

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  By amending its responses contained herein, Corellium does not waive any of its objections raised
in the remainder of the responses or in or related to the Motion for Protective Order and Incorporated
Memorandum of Law, filed under seal at D.E. 81.
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     REQUEST FOR ADMISSION NO. 69: Admit that Corellium does work directly for the
     Central Intelligence Agency.

            RESPONSE: Deny.

     REQUEST FOR ADMISSION NO. 70: Admit that Corellium does work directly for the
     Federal Bureau of Investigation.

            RESPONSE: Deny.

     REQUEST FOR ADMISSION NO. 71: Admit that Corellium does work directly for the
     United States Department of Homeland Security.

            RESPONSE: Deny.

     REQUEST FOR ADMISSION NO. 72: Admit that Corellium does work directly for the
     United States Department of Justice.

            RESPONSE: Deny.


     REQUEST FOR ADMISSION NO. 73: Admit that the Australian Department of Defense
     is a customer of Corellium.

            RESPONSE: Deny.

     REQUEST FOR ADMISSION NO. 74: Admit                that   the   United   Kingdom   Secret
     Intelligence Service is a customer of Corellium.

            RESPONSE: Deny.

     REQUEST FOR ADMISSION NO. 75: Admit that Facebook is a customer of Corellium.

            RESPONSE: Deny.

     REQUEST FOR ADMISSION NO. 76: Admit that LinkedIn is a customer of Corellium.

            RESPONSE: Deny.

     REQUEST FOR ADMISSION NO. 77: Admit that the National Aeronautics and Space
     Administration is a customer of Corellium.

            RESPONSE: Deny.

     REQUEST FOR ADMISSION NO. 78: Admit that Square is a customer of Corellium.

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